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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 IN RE:                                            §
                                                   §                  CHAPTER 11
 ALEXANDER E. JONES                                §                CASE NO. 22-33553
     Debtor                                        §

                         REQUEST FOR A STATUS CONFERENCE
                          [Relates to Docket Nos. 859, 862, and 903]

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, FIRST UNITED AMERICAN COMPANIES, LLC (“FUAC”), the

“designated” back up bid, and requests a status conference to address the apparent defects in the sale

process, including changing the procedures, lack of transparency, and inaccurate disclosures to

interested bidders. Because the value of the assets is in the process of being destroyed at this very

minute, FUAC requests a status conference today if the court’s calendar can accommodate it.

                                                                Respectfully submitted,

                                                                 /s/ Walter J. Cicack
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                                       Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document has been served
through the Court’s ECF noticing system on this 14th day of November, 2024.

                                                                 /s/ Walter J. Cicack
                                                                Walter J. Cicack
